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                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                      CRIMINAL MINUTE SHEET
USA v.      Barry Gordon Croft, Jr.                                                      Mag. Judge: Sally J. Berens

    CASE NUMBER                       DATE                TIME (begin/end)              PLACE                    INTERPRETER


 1:20-cr-00183-RJJ                   6/16/2021            1:08 PM - 1:42 PM           Grand Rapids


APPEARANCES:
Government:                                              Defendant:                                      Counsel Designation:
Austin Jacob Hakes and Nils R. Kessler                   Joshua Adam Blanchard                           CJA Appointment


          OFFENSE LEVEL                                CHARGING DOCUMENT/COUNTS                            CHARGING DOCUMENT
                                                                                                         Read
Felony                                      Indictment, Counts 1-3                                       Reading Waived

            TYPE OF HEARING                                       DOCUMENTS                               CHANGE OF PLEA

    First Appearance                                  Defendant's Rights                        Guilty Plea to Count(s)
    Arraignment:                                      Waiver of                                 of the
         mute              nolo contendre             Consent to Mag. Judge for
                           guilty                                                               Count(s) to be dismissed at sentencing:
         not guilty
                                                      Other:
    Initial Pretrial Conference
                                                                                                Presentence Report:
    Detention         (waived    )                                                                     Ordered      Waived
    Preliminary    (waived       )                 Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                                 Report & Recommendation
                                                                                                     No Written Plea Agreement
    Revocation/SRV/PV                                 Order of Detention
                                                      Order to file IPTC Statements
    Bond Violation                                                                                    EXPEDITED RESOLUTION
                                                      Bindover Order
    Change of Plea                                    Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                        Other:                                         expedited resolution
✔   Other: Mtn hrg re ECFs 193, 198, 210

                  ADDITIONAL INFORMATION                                                          SENTENCING
Joseph E. Richotte appeared for Buzzfeed, Inc. and the New York            Imprisonment:
Times.                                                                     Probation:
                                                                           Supervised Release:
Andrew Michael Pauwels appeared for The Detroit News and
                                                                           Fine: $
Scripps Media, Inc.
                                                                           Restitution: $
                                                                           Special Assessment: $
                                                                           Plea Agreement Accepted:             Yes    No
                                                                           Defendant informed of right to appeal:         Yes       No
                                                                           Counsel informed of obligation to file appeal:  Yes      No


                  CUSTODY/RELEASE STATUS                                                 BOND AMOUNT AND TYPE

Detention Continued                                                    $

CASE TO BE:           Referred to District Judge                      TYPE OF HEARING: Further Proceedings

Reporter/Recorder:          Digitally Recorded                        Courtroom Deputy:              J. Norton
